332 U.S. 804
    68 S.Ct. 20
    92 L.Ed. 382
    UNITED STATESv.STATE OF CALIFORNIA.
    No. 12, Original.
    Supreme Court of the United States
    October 27, 1947
    
      PER CURIAM.
    
    
      1
      Since our opinion which was announced in this case June 23, 1947, 332 U.S. 19, 67 S.Ct. 1658, two stipulations have been filed in this Court, signed by the Attorney General and Secretary of the Interior of the United States on the one hand and by the Attorney General of the State of California on the other hand. In these stipulations the Attorney General and the Secretary of the Interior purport to renounce and disclaim for the United States Government paramount government power over certain particularly described submerged lands in the California coastal area. In such stipulations the United States Attorney General and Secretary of the Interior furthermore purport to bind the United States to agreements which purport to authorize state lessees of California coastal submerged lands to continue to occupy and exploit those lands, and which agreements also purport to authorize California under conditions set out to execute leases for other submerged coastal lands.
    
    
      2
      Robert E. Lee Jordan has filed a petition in this Court praying that he be permitted to file a motion as amicus curiae or in the alternative as an intervenor to have the foregoing stipulations and agreements set aside and declared null and void on the ground among others that the Attorney General and the Secretary of the Interior are without authority to bind the United States by agreements which it is alleged would if valid alienate and surrender the Government's paramount power over the submerged lands concerning which the stipulations are made.
    
    
      3
      It is ordered that the petition of Robert E. Lee Jordan to file the motion here to declare the stipulations null and void be denied, without prejudice to the assertion of any right he may have in a proper district court.
    
    
      4
      It is further ordered that the stipulations between the United States Attorney General and the Secretary of the Interior on the one hand and the Attorney General of California on the other, which stipulations purport to bind the United States, be stricken as irrelevant to any issues now before us.
    
    
      5
      And for the purpose of carrying into effect the conclusions of this Court as stated in its opinion announced June 23, 1947, it is ordered, adjudged, and decreed as follows:
    
    
      6
      1. The United States of America is now, and has been at all times pertinent hereto, possessed of paramount rights in, and full dominion and power over, the lands, minerals and other things underlying the Pacific Ocean lying seaward of the ordinary low-water mark on the coast of California, and outside of the inland waters, extending seaward three nautical miles and bounded on the north and south, respectively, by the northern and southern boundaries of the State of California. The State of California has no title thereto or property interest therein.
    
    
      7
      2. The United States is entitled to the injunctive relief prayed for in the complaint.
    
    
      8
      3. Jurisdiction is reserved by this Court to enter such further orders and to issue such writs as may from time to time be deemed advisable or necessary to give full force and effect to this decree.
    
    
      9
      Inasmuch as the stipulations of July 26, 1947, have been stricken, Mr. Justice FRANKFURTER desires explicitly to note his understanding that insofar as the meaning or scope or validity of the stipulations may give rise to any legal issue, no such issue has been before the Court or has here been considered.
    
    
      10
      Mr. Justice JACKSON took no part in the consideration or decision of this case.
    
    